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                       CASE NO. 22-3462
                      __________________

       IN THE UNITED STATES COURT OF APPEALS
                FOR THE SIXTH CIRCUIT
                  __________________

                     DAVID CIRACI, et al.,
                                Plaintiffs-Appellants,
                             v.

                 J.M. SMUCKER COMPANY,
                                 Defendant-Appellee.
                     __________________

          On Appeal from the United States District Court
     for the Northern District of Ohio, No. 5:21-cv-02347-JRA
                       __________________

BRIEF OF DEFENDANT-APPELLEE J.M. SMUCKER COMPANY
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              STATEMENT REGARDING ORAL ARGUMENT

      Defendant Smucker does not believe that oral argument will be necessary—

or even beneficial—in this case. The right result is clear on the briefs: the Complaint

fails to plead facts showing that Smucker is a state actor for First Amendment

purposes. The documents Plaintiffs have put in issue by incorporating them into

their Complaint show that Smucker decided to require employee vaccination before

any federal mandate. Smucker’s mandate, while informed by federal law, was a

result of Smucker’s independent judgment about the best interests of its employees

and customers. To that end, Smucker never wavered in its decision to require

employee vaccination—even after the federal mandate was struck down.

      Moreover, Smucker’s vaccine mandate is not ultimately what this lawsuit is

about. Rather, the heart of Plaintiffs’ claim is that Smucker allegedly failed to

accommodate their religious beliefs by denying Plaintiffs religious exemptions and

subsequently terminating them for failing to get vaccinated. The Complaint does

not allege that the federal government compelled this result. To the contrary, the

Complaint alleges that the federal mandate required employers to grant religious

exemptions from vaccination to qualifying employees. Because Plaintiffs do not

allege that the government compelled their alleged injury, Plaintiffs fail to show that

Smucker is a state actor for purposes of Plaintiffs’ First Amendment claim. Oral

argument will do nothing to change this straightforward outcome.


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                  CORPORATE DISCLOSURE STATEMENT

      Under 6th Cir. R. 26.1, Defendant-Appellee states that, to the best of its

knowledge, there is no publicly owned corporation or affiliate that has a substantial

financial interest in the outcome of this litigation.




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                STATEMENT OF THE ISSUE PRESENTED

1.   Whether the district court erred by finding that Plaintiffs failed to plausibly

     allege that Defendant Smucker’s private conduct constituted state action

     under the exclusive public function, nexus, or government compulsion tests?




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                         STATEMENT OF THE CASE

I. BACKGROUND FACTS

      On September 10, 2021, during the height of the COVID-19 pandemic,

President Biden issued Executive Order 14042, requiring “parties that contract with

the Federal Government to provide adequate COVID-19 safeguards to their

workers.” (Verified Complaint, R.1, PageID# 2, ¶¶ 1–2.) The Executive Order

delegated authority to the Safer Federal Workforce Task Force (“the Task Force”)

to determine what measures constituted adequate COVID-19 safeguards. (Id. at

PageID# 2, ¶ 3.) On September 24, 2021, the Task Force issued guidance requiring

federal contractors to “ensure that all covered contractor employees are fully

vaccinated for COVID-19, unless the employee [was] legally entitled to an

accommodation” by December 8, 2021. (Id. at PageID# 2, ¶¶ 4–5 (emphasis added).)

      The J.M Smucker Company is a publicly traded private corporation

headquartered in Orrville, Ohio. Smucker’s customers include other private

companies as well as the United States government. On September 10, 2021, just

one day after Executive Order 14042 was issued (but nearly three weeks before the

Task Force’s guidance was issued) Mark Smucker, the Chief Executive Officer of

Smucker, circulated a message to employees stating that Smucker would “ask and

expect all U.S. Smucker employees to be fully vaccinated for COVID-19 in the

months ahead.” (Ex. 1 to Verified Complaint, R. 1-1, at PageID# 22.) The letter also


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stated that Smucker intended “to comply with federal requirements which will apply

to U.S. employers of 100 people or more as well as companies, including Smucker,

that are federal contractors.” (Id.) The message further stated that Smucker’s

decision “to establish a vaccine expectation . . . was made prior” to President Biden’s

Executive Order. (Id.)

      On October 11, 2021, CEO Smucker notified employees that the company

was moving from “expected vaccination” to “required vaccination” and would

require “[a]ll salaried U.S. employees . . . [to] show proof of vaccination . . . or be

granted [a] religious or medical exemption . . . by December 15, 2021.” (Ex. 2 to

Verified Complaint, R. 1-2, at PageID# 25.) While the message made a reference to

the federal administrative guidance, CEO Smucker made clear that the vaccine

policy was motivated by the expectations of Smucker’s customers and Smucker’s

own judgment that “requiring vaccines for employees is imperative to ensure the

health and safety of employees, customers, visitors and others.” (Id. at PageID # 24.)

Employees who failed to comply with the vaccine policy or request and receive a

medical or religious exemption from the policy would be terminated effective

December 15, 2021. Employees who requested and received a medical or religious

exemption, unless the nature of their role allowed remote work, would be placed on

a temporary unpaid leave effective December 16, 2021. (Verified Complaint, R.1,

PageID# 6–7, ¶ 33.)


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II. PROCEDURAL HISTORY

      On December 15, 2021, the day Smucker’s vaccination policy was due to take

effect, Plaintiffs filed a Verified Complaint (hereinafter “Complaint”) in the United

States District Court for the Northern District of Ohio. The Complaint asserted Free

Exercise and Title VII claims against Smucker, as well as a claim under the

Emergency Use Authorization Statute. (Id. at PageID# 7–9, ¶¶ 38–48.) Along with

their Complaint, Plaintiffs also moved for a temporary restraining order enjoining

the vaccination policy’s enforcement. (Plaintiffs’ TRO Motion, R.5, PageID # 58.)

      The Complaint alleged that Plaintiffs, who were Smucker employees, all

requested and were denied a religious exemption under the vaccine mandate.

(Verified Complaint, R.1, PageID # 4–5, ¶¶ 18–24.) The Complaint further alleged

Plaintiffs were “plac[ed] . . . on indefinite leave without pay, den[ied] . . . benefits,

opportunities for pay raises and bonuses, and constructively discharge[ed].” (Id. at

PageID # 10, ¶ 59.) As relevant here, Count I of the Complaint advanced a Free

Exercise claim under the First Amendment to the United States Constitution. In

particular, the Complaint alleged that Smucker should be considered a state actor

subject to the First Amendment’s Free Exercise clause because Smucker adopted the

vaccine mandate “according to the mandates and guidance set forth by the Federal

Government.” (Id. at PageID # 7, ¶ 37.) The Complaint then alleged that Smucker

violated the First Amendment by failing to accommodate or give due consideration


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to Plaintiffs’ “sincerely held religious beliefs that prevent them” from receiving the

vaccine. (Id. at PageID # 9, ¶ 51.)

      On December 20, 2021, Smucker filed its opposition to Plaintiffs’ request for

a temporary restraining order, along with a motion to dismiss Plaintiffs’ Complaint

in its entirety. (Smucker’s TRO Opposition, R. 13, PageID # 89; Smucker’s Motion

to Dismiss, R.14, PageID # 133.) On December 22, 2021, the district court denied

Plaintiffs’ request for a temporary restraining order, finding that Plaintiffs were

unlikely to succeed on any of their asserted claims. (Order Denying TRO, R.15,

PageID # 158–60.) Then, on January 19, 2022, in their opposition to Smucker’s

motion to dismiss, Plaintiffs conceded that their Title VII claim should be dismissed

for failure to exhaust administrative remedies. (Defendants’ Opposition to

Smucker’s Motion to Dismiss, R.18, PageID # 173.) Further, Plaintiffs conceded

that their Emergency Use Authorization claim should be dismissed as inapplicable

to Smucker. (Id.) Only the Free Exercise claim remained.

      On April 20, 2022, the district court granted Defendant Smucker’s motion to

dismiss. Acknowledging that Plaintiffs had conceded all other claims, the district

court considered only Plaintiffs’ Free Exercise claim. Ultimately, the district court

found that the Complaint failed to state a viable Free Exercise claim, as Plaintiffs

did not allege (1) “that vaccination is a traditional and exclusive public function,”

(2) “that Defendant was compelled to implement the vaccination mandate,” or (3)


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“that Defendant acted jointly with the government” in terminating Plaintiffs. (Order

Granting Smucker’s Motion to Dismiss, R.21, PageID # 191.) Accordingly, the

district court granted Defendant Smucker’s motion, dismissed the Complaint in its

entirety, and entered judgment in Smucker’s favor. (Id.; Judgment, R.22, PageID #

193.) Plaintiffs timely appealed. (Plaintiffs’ Notice of Appeal, R.23, PageID # 194.)

                           SUMMARY OF ARGUMENT

      Plaintiffs’ case is a transparent attempt to shoehorn a private employment

dispute into a federal constitutional claim. Plaintiffs sat on their employment

grievances for months, instead of following the administrative process Congress

established in Title VII. As Smucker’s policy went into effect, Plaintiffs scrambled

to advance a claim that did not require exhaustion of administrative remedies. Thus,

they now style their private discrimination claim as a Free Exercise claim. And,

while the First Amendment undoubtedly protects many of our most sacred individual

liberties, its scope is not (and was never intended to be) unlimited. The First

Amendment does not reach private conduct. That well-established principle should

prevail here.

      In bringing their creative but hopelessly flawed claim, Plaintiffs fail to allege

the extraordinary circumstances necessary to overcome the presumption that the

First Amendment governs only government action. First, Plaintiffs fail to allege that

vaccine mandates, like the one adopted by Smucker, have historically been the


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exclusive province of the government. Indeed, private employers and private

schools have created and enforced such mandates for many years for the welfare of

workers and students. Second, Plaintiffs fail to show that the Biden Administration

was involved in their termination from Smucker, as necessary to satisfy the joint

action, or “nexus,” test. And finally, Plaintiffs fail to show that any action by the

federal government compelled Smucker to deny their religious exemptions and

terminate their employment. Indeed, Plaintiffs pled the opposite, acknowledging

that the Task Force mandate explicitly required federal contractors to grant religious

exemptions from vaccination to qualifying employees. (Verified Complaint, R.1,

PageID# 2, ¶ 5.)

      Accordingly, Smucker is not a state actor for purpose of Plaintiffs’ Free

Exercise claim, and this Court should affirm the district court’s dismissal of the

Complaint.

                            STANDARD OF REVIEW

      This Court reviews de novo the district court’s decision granting Defendant

Smucker’s motion to dismiss. Ctr. for Bio-Ethical Reform, Inc. v. Napolitano, 648

F.3d 365, 369 (6th Cir. 2011). This Court, like the district court, must review the

Complaint to determine whether it “contain[s] sufficient factual matter, accepted as

true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009). In measuring the Complaint against the plausibility standard,


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the Court trades in concrete allegations, not conclusory factual or legal statements

masquerading as fact. Buddenberg v. Weisdack, 939 F.3d 732, 738 (6th Cir. 2019).

To that end, in reviewing a motion to dismiss, the Court “start[s] ‘by identifying

pleadings that, because they are no more than conclusions, are not entitled to the

assumption of truth.’” Bates v. Green Farms Condo. Assoc., 958 F.3d 470, 480 (6th

Cir. 2020) (quoting Iqbal, 556 U.S. at 679).

      “[L]egal conclusions couched as factual allegations need not be accepted as

true” for purposes of a motion to dismiss. Id. “A pleading that offers labels and

conclusions or a formulaic recitation of the elements of a cause of action will not do.

Nor does a complaint suffice if it tenders naked assertions devoid of further factual

enhancement.” Napolitano, 648 F.3d at 369 (quoting Iqbal, 556 U.S. at 678). Such

impermissible conclusions include bald assertions that the defendant is a state actor

for purposes of a constitutional claim. See, e.g., Cudejko v. Goldstein, 22 F. App’x

484, 485 (6th Cir. 2001) (dismissing plaintiff’s complaint because he failed to

plausibly allege that the defendant was a state actor); accord Bomer v. Muechenheim,

75 F. App’x 998, 999 (6th Cir. 2003).

      Only with the make-weight conclusions stripped away does the Court

determine whether the Complaint “pleads factual content that allows the Court to

draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Coley v. Lucas County, 799 F.3d 530, 537 (6th Cir. 2015) (quoting Iqbal, 556 U.S.


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at 678). Against this backdrop, as the district court found, Plaintiffs’ Complaint

utterly fails to plead factual content to raise a plausible First Amendment claim

against Defendant Smucker.

                                  ARGUMENT

I. THE DISTRICT COURT CORRECTLY FOUND THAT PLAINTIFFS
   FAILED TO ALLEGE SUFFICIENT FACTS SHOWING THAT
   DEFENDANT SMUCKER IS A STATE ACTOR FOR FIRST
   AMENDMENT PURPOSES.

      Plaintiffs’ allegation that Smucker’s vaccination policy failed to

accommodate their religious beliefs—a claim Smucker vehemently denies—can

only form the basis of a constitutional claim if Smucker is a government actor. The

First Amendment “prohibits only governmental abridgment” of free religious

exercise. Manhattan Cmty. Access Corp. v. Halleck, 139 S. Ct. 1921, 1928 (2019).

Addressing similar constitutional challenges to private employers’ vaccination

policies, courts have repeatedly acknowledged the “well settled principle of

constitutional law that there exists a line between state action subject to [First]

Amendment scrutiny and private conduct (however exceptionable) that is not.”

Penn. Informed Consent Advocates v. Univ of Penn. Health Sys., 2022 WL 2316648,

at *2 (E.D. Penn. June 28, 2022); accord Harsman v. Cincinnati Children's Hosp.

Med. Ctr., 2021 WL 4504245, at *3 (S.D. Ohio Sept. 30, 2021) (quoting Beckerich

v. St. Elizabeth Med. Ctr., 2021 WL 4398027, at *3 (E.D. Ky. Sept. 24, 2021)).



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      Accordingly, “without establishing that Defendants are state actors, Plaintiffs’

constitutional claims cannot stand.” Harsman, 2021 WL 4504245, at *3 (quoting

Beckerich, 2021 WL 4398027, at *3). As the district court correctly noted, the

Supreme Court has recognized three “limited circumstances” in which a private

entity may become subject to constitutional constraints: (1) “when the private entity

performs a traditional, exclusive public function;” (2) “when the government

compels the private entity to take a particular action;” or (3) “when the government

acts jointly with the private entity.” Halleck, 139 S. Ct. at 1928. Plaintiffs fail to

plead facts that satisfy any of these three tests.

      A.     Plaintiffs Fail to Plead Facts That Satisfy the Exclusive Public
             Function Test.

      The Complaint contains no allegations—conclusory or otherwise—that could

satisfy the exclusive public function test. First, as Smucker explained below, a

private vaccine mandate is a far cry from an “exclusive prerogative of the state,” that

satisfies the public function test. Indeed, private employers and private schools often

institute mandatory vaccination policies for the welfare of their respective students

and employees. Ellison v. Garbarino, 48 F.3d 192, 196 (6th Cir. 1995); see Hillel

Y. Levin, Private Schools’ Role and Rights in Setting Vaccination Policy: A

Constitutional and Statutory Puzzle, 61 WM. & MARY L. REV. 1607, 1610 n.8,

1653–54 (2020) (citing cases relating to private school vaccine mandates); Bridges

v. Houston Methodist Hosp., 543 F. Supp. 3d 525, 527–28 (S.D. Tex. 2021) (private

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healthcare provider vaccination mandate); Norwegian Cruise Line Holdings, Ltd. v.

Rivkees, 553 F. Supp. 3d 1143, 1167 (S.D. Fla. 2021) (cruise ship vaccination

mandate).

      Plaintiffs’ appellate brief does not dispute this point, effectively conceding

that Smucker is not a state actor under the public function test.

      B.     Plaintiffs Fail to Plead Facts That Satisfy the Joint Action/Nexus
             Test.

      Second, the joint action, or “nexus,” test requires a plaintiff to show that the

defendant “acted together with or . . . obtained significant aid from state officials”

in committing the conduct Plaintiffs complain of. Lugar v. Edmondson Oil Co., 457

U.S. 922, 937 (1982). Tellingly, the Complaint does not allege (and Plaintiffs’

appellate brief does not argue) that the government was “intimately involved in the

challenged private conduct” at issue here—the denial of Plaintiffs’ religious

accommodations and their eventual termination. Wolotsky v. Huhn, 960 F.2d 1331,

1335 (6th Cir. 1992).

      Instead, Plaintiffs hang their hat solely on the Task Force’s guidance requiring

vaccination of employees. Even putting aside the fact that the Complaint’s exhibits

show that Smucker decided to require employee vaccination weeks before

administrative guidance required it—and continued to do so after that guidance was

struck down—Plaintiffs’ claim still fails as a matter of law. As Smucker explained

below, regulation of a private entity, no matter how extensive, is “insufficient . . . to

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establish the required nexus between [Plaintiff’s] complained-of conduct and the

State.” Johnson v. Tyson Foods, Inc., -- F. Supp. 3d --, 2022 WL 2161520, at *5

(W.D. Tenn. 2022) (collecting Sixth Circuit and Supreme Court cases); accord

Rendell–Baker v. Kohn, 457 U.S. 830, 841–43 (1982) (holding private school’s

personnel decisions not attributable to the state, despite “extensive regulation of the

school generally”). Accordingly, Smucker is not a state actor under the nexus test.

      C.     Plaintiffs Fail to Plead Facts to Satisfy the State Compulsion Test.

      That leaves only the state compulsion test to which Plaintiffs devote virtually

their entire appellate brief. “The state compulsion test requires that a state exercise

such coercive power or provide such significant encouragement, either overt or

covert, that in law the choice of the private actor is deemed to be that of the state.”

S.H.A.R.K. v. Metro Parks Serving Summit Cnty., 499 F.3d 563, 565 (6th Cir. 2007).

      Despite the real estate these arguments occupy in Plaintiffs’ appellate brief,

the Complaint sets forth only two allegations that hint at government compulsion

here. The first allegation is that Smucker “acted pursuant to ‘policies, practices,

customs, and procedures created, adopted, and enforced under color of federal law.’”

(Order Granting Smucker’s Motion to Dismiss, R.21, PageID # 191.) The district

court rightly disregarded this allegation as conclusory, as it is too vague to provide

Smucker notice of the basis of Plaintiffs’ claim or set forth any facts to support

Plaintiffs’ allegations of government coercion or encouragement to make Smucker


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a state actor for First Amendment purposes. See, e.g., Lee v. Ohio Educ. Assoc., 951

F.3d 386, 392–93 (6th Cir. 2020) (dismissing the plaintiff’s claim for failing to

satisfy Rule 8(a)(2)’s requirement that the Complaint “provide the defendants

adequate notice of the claims against them and the grounds upon which each claim

rests”).

       To satisfy the government coercion test, Plaintiffs need to allege facts

showing that the government coerced Smucker into taking the particular action that

allegedly injured Plaintiffs—i.e., the denial of their religious exemptions and

subsequent termination under Smucker’s vaccination policy. Plaintiffs do not (and

cannot) make any such allegation in the Complaint, as the Biden Administration had

no part in Plaintiffs’ termination. Quite the contrary, the Complaint itself alleges that

the Task Force’s mandate explicitly required employers to grant medical and

religious accommodations to qualifying employees. (Verified Complaint, R.1,

PageID# 2, ¶ 5.) (“Task Force guidance called for federal contractor employees to

receive a complete round of Covid-19 injections by January 18, 2022, unless legally

entitled to an accommodation for medical or religious reasons.”).

       The Supreme Court’s decision in Blum v. Yaretsky, 457 U.S. 991 (1982),

illustrates the fatal flaw in Plaintiffs’ Free Exercise claim. In Blum, nursing home

residents claimed that various private nursing homes violated the plaintiffs’

constitutional due process rights by transferring them between homes without giving


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them an opportunity to be heard. The plaintiff residents claimed they could invoke

their constitutional rights under the state action doctrine because the nursing homes

were heavily regulated, and because the patient transfer regime was created by New

York law. The individual decision to transfer a given resident, however, was not

made by state officials, but by privately employed physicians.

      The Supreme Court found no state action. Even though New York law

expressly enabled patient transfers in general, the Court emphasized that the

individual “decisions to transfer residents” that the plaintiffs complained of “were

solely ‘medical judgments made by private parties.’” Paige v. Coyner, 614 F.3d 273,

279 (6th Cir. 2010) (quoting Blum, 457 U.S. at 1008). Accordingly, because the

plaintiffs failed to show that “the State [was] responsible for the decision to

discharge or transfer particular patients,” the Court dismissed the plaintiff’s

constitutional claim. Blum, 457 U.S. at 1008 (emphasis added); accord Crowder v.

Conlan, 740 F.2d 447, 452 (6th Cir. 1984) (“Undoubtedly there may be situations

where state action is manifest in the decisions of a private entity because public

officials work behind the scene to influence a particular result . . . In this case,

however, this situation does not exist, and there was no state action.”) (emphasis

added).

      Blum and Crowder dispose of this case.          At best, Plaintiffs allege that

Smucker made its COVID-19 vaccine expectation mandatory as a result of the Task


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Force’s guidance.     But Plaintiffs do not (and cannot) allege that the Biden

Administration had anything to do with Smucker’s decision to deny each Plaintiff’s

request for a religious exemption or to eventually terminate each Plaintiff under the

vaccination policy. Accordingly, Plaintiffs have failed to show state action that

transforms Smucker into a government actor subject to the requirements of the First

Amendment.

      The Supreme Court’s decision in Adickes v. S.H. Kress & Co., 398 U.S. 144

(1970), does not support Plaintiffs’ position, even on Plaintiffs’ erroneous reading

that a private party becomes a state actor by complying with the law. First, and most

importantly, Adickes involved a “state-enforced custom requiring racial segregation”

of restaurant patrons in a Mississippi town. Id. at 148 (emphasis added). That is, in

Adickes, unlike in Blum and Crowder, governing law compelled the racial

discrimination that formed the basis of the plaintiff’s lawsuit. Id. In this case, by

contrast, even if Smucker’s policy were adopted as a result of Task Force guidance

(it was not), the vaccine policy itself is not the basis of Plaintiffs’ claim. Rather, as

explained above, Plaintiffs’ claim rests on the denial of their religious exemptions

and subsequent termination. (Verified Complaint, R.1, PageID# 4–5, 8, ¶¶ 18–24,

46.) Plaintiffs do not allege that the Task Force guidance required—let alone

specifically compelled—the denial of Plaintiffs’ individual religious exemption

requests or each Plaintiff’s termination for failure to get vaccinated. In fact, as


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explained above, the Task Force guidance explicitly required the opposite result for

employees who qualified for a religious exemption. (Id. at PageID# 2, ¶ 5.)

      Second, Plaintiffs fail to identify a decision citing Adickes for the proposition

that a private actor becomes a state actor merely by complying with a presumptively

valid law. Rather, Courts have uniformly held that “compulsion in the form of a

generally applicable law, without more, is [in]sufficient to deem a private entity a

governmental actor.” Sutton v. Providence St. Joseph Med. Ctr., 192 F.3d 826, 841

(9th Cir. 1999). Indeed, the Ninth Circuit explicitly rejected Plaintiffs’ argument in

Sutton: “[W]e do not read Adickes as a case in which a private defendant was held

responsible [as a state actor] merely for complying with a presumptively valid state

law.” Id.

      Further, the Ninth Circuit emphasized the disastrous consequences of finding

state action any time a private entity complies with a generally applicable law:

      To accept Plaintiff’s argument would be to convert every employer—
      whether it has one employee or 1,000 employees—into a governmental
      actor every time it complies with a presumptively valid, generally
      applicable law, such as an environmental standard or a tax-withholding
      scheme. Private employers would then be forced to defend those laws
      and pay any consequent damages, even though they bear no real
      responsibility for the violation of rights arising from the enactment of
      the laws. “Statutes and laws regulate many forms of purely private
      activity, such as contractual relations and gifts, and subjecting all
      behavior that conforms to state law to the Fourteenth Amendment
      would emasculate the [government] action concept.




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Sutton, 192 F.3d at 838–39. This Court’s decisions have consistently demonstrated

agreement with the Ninth Circuit’s reasoning in Sutton. See, e.g., Faparusi v. Case

Western Reserve Univ., 711 F. App’x 269, 276 (6th Cir. 2017); cf. Wolotsky, 960

F.2d at 1336 (“The actions of a private entity do not become state action merely

because the government provides substantial funding to the private party.”) (citing

Rendell–Baker, 457 U.S. at 840).

      Accordingly, Plaintiffs have failed to plead facts showing that Smucker

engaged in state action under the public function, nexus, or state compulsion tests.

Because Plaintiffs cannot establish that Smucker is a state actor for purposes of its

Free Exercise claim, this Court should affirm the district court’s dismissal of the

Complaint.




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                           CONCLUSION

For these reasons, this Court should affirm the judgment of the district court.


   September 9, 2022                       Respectfully submitted,

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          CERTIFICATE OF COMPLIANCE WITH RULE 32(A)

      This brief complies with the type-volume limitation of Fed. R. App. P.

32(a)(7)(B) because it contains 3740 words, excluding the parts of the brief

exempted by Fed. R. App. P. 32(f) and Sixth Cir. R. 32(b)(1), as counted using the

word-count function on Microsoft Word 2016 software.

      This brief complies with the typeface requirements of Fed. R. App. P. 32(a)(5)

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New Roman style, 14 point font.


      September 9, 2022                             /s/ Tracy K. Stratford
                                                    Tracy K. Stratford




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                            CERTIFICATE OF SERVICE

      I hereby certify that on September 9, 2022, I electronically filed the original

of the foregoing brief with the Clerk of the Court using the CM/ECF system. Notice

of this filing will be sent to all attorneys of record by operation of the Court’s

electronic filing system.

                                             /s/ Tracy K. Stratford
                                             Tracy K. Stratford




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   DESIGNATION OF RELEVANT DISTRICT COURT DOCUMENTS


Pursuant to 6th Cir. R. 28(b)(1)(A)(i), Defendant-Appellee J.M. Smucker Company
hereby designates the following relevant district court documents:

                    David Ciraci v. J.M. Smucker Company,
         U.S. District Court Case No. 5:21-cv-02347-JRA, N.D. Ohio

 Record                      Description                                 PageID#
 Entry                                                                    Range
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          Restraining Order

   13     Defendant’s Opposition to Motion for a Temporary                   89–132
          Restraining Order and Exhibit

   14     Defendant’s Motion to Dismiss the Verified Complaint           133–156

   15     District Court Order Denying Plaintiffs’ Motion for a          157–161
          Temporary Restraining Order

   18     Plaintiffs’ Opposition to Defendant’s Motion to Dismiss        166–174
          the Verified Complaint

   19     Defendant’s Reply in Support of Motion to Dismiss the          175–186
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   21     District Court Memorandum and Order Granting                   188–192
          Defendants’ Motion to Dismiss the Verified Complaint

   22     District Court Judgment in favor of Defendant                       193

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